           Case 2:25-cv-00255-JNW            Document 134        Filed 06/09/25         Page 1 of 3




 1                                                     THE HONORABLE JAMAL N. WHITEHEAD
 2

 3

 4

 5

 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8

 9    PLAINTIFF PACITO; PLAINTIFF ESTHER;                    Case No. 2:25-cv-255-JNW
      PLAINTIFF JOSEPHINE; PLAINTIFF SARA;
10    PLAINTIFF ALYAS; PLAINTIFF MARCOS;                     PLAINTIFFS’ NOTICE OF
      PLAINTIFF AHMED; PLAINTIFF RACHEL;                     SUPPLEMENTAL AUTHORITY
11    PLAINTIFF ALI; HIAS, INC.; CHURCH
      WORLD SERVICE, INC.; and LUTHERAN
12    COMMUNITY SERVICES NORTHWEST,
13
                            Plaintiffs,
14
                    v.
15
      DONALD J. TRUMP, in his official capacity as
16    President of the United States; MARCO RUBIO,
      in his official capacity as Secretary of State;
17    KRISTI NOEM, in her official capacity as
18    Secretary of Homeland Security; ROBERT F.
      KENNEDY, JR., in his official capacity as
19    Secretary of Health and Human Services,

20                          Defendants.

21

22          Pursuant to Local Rules W.D. Wash. LCR 7(n), Plaintiffs respectfully submit this notice

23   of supplemental authority relevant to their pending motion for class certification. See Dkt. No. 71.

24          In Doe v. Noem, No. 1:25-cv-10495-IT (D. Mass. May 28, 2025), Dkt. No. 107, the district

25   court granted class-wide emergency relief staying the government’s suspension of the adjudication

26   of applications filed by or on behalf of individuals granted parole pursuant to certain processes and

     NOTICE OF SUPPL. AUTHORITY – 1                                            Perkins Coie LLP
                                                                         1301 Second Avenue, Suite 4200
     (No. 2:25-cv-255-JNW)                                                  Seattle, Washington 98101
                                                                             Phone: +1.206.359.8000
                                                                              Fax: +1.206.359.9000
           Case 2:25-cv-00255-JNW            Document 134        Filed 06/09/25         Page 2 of 3




 1   certified a class comprising four subclasses of individuals impacted by the government’s policies.

 2   The court reasoned that the class satisfied the prerequisites of Rule 23(a) because, among other

 3   things, resolving the question of whether the policies were lawful “will effectively resolve, on a

 4   class-wide basis, the issue of whether Plaintiffs’ applications” and certain parole “adjudications

 5   were lawfully suspended.” Id. at 45. It further determined that class certification was appropriate

 6   under Rule 23(b)(2) because a stay of the government’s policies suspending and terminating

 7   adjudication of applications would address the injuries of the respective subclasses. Id. at 48.

 8          A copy of the Doe court’s order is attached as Exhibit 1.

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
     NOTICE OF SUPPL. AUTHORITY – 2                                            Perkins Coie LLP
                                                                         1301 Second Avenue, Suite 4200
     (No. 2:25-cv-255-JNW)                                                  Seattle, Washington 98101
                                                                             Phone: +1.206.359.8000
                                                                              Fax: +1.206.359.9000
           Case 2:25-cv-00255-JNW         Document 134     Filed 06/09/25        Page 3 of 3




 1   Dated: June 9, 2025                      By: s/ Harry H. Schneider, Jr.
                                                  Harry H. Schneider, Jr., WSBA No. 9404
 2       Deepa Alagesan*                          Jonathan P. Hawley, WSBA No. 56297
         Mevlüde Akay Alp*                        Shireen Lankarani, WSBA No. 61792
 3
         Linda Evarts*                            Esmé L. Aston, WSBA No. 62545
 4       Ghita Schwarz*                           PERKINS COIE LLP
         Pedro Sepulveda, Jr.*                    1301 Second Avenue, Suite 4200
 5       INTERNATIONAL REFUGEE                    Seattle, Washington 98101
         ASSISTANCE PROJECT                       Telephone: (206) 359-8000
 6       One Battery Park Plaza, 33rd Floor       Facsimile: (206) 359-9000
         New York, New York 10004                 HSchneider@perkinscoie.com
 7
         Telephone: (646) 939-9169                JHawley@perkinscoie.com
 8       Facsimile: (516) 324-2267                SLankarani@perkinscoie.com
         dalagesan@refugeerights.org              EAston@perkinscoie.com
 9       makayalp@refugeerights.org
         levarts@refugeerights.org                John M. Devaney*
10       gschwarz@refugeerights.org               PERKINS COIE LLP
                                                  700 Thirteenth Street NW, Suite 800
11       Melissa Keaney*                          Washington, D.C. 20005
         INTERNATIONAL REFUGEE                    Telephone: (202) 654-6200
12       ASSISTANCE PROJECT                       Facsimile: (202) 654-6211
13       P.O. Box 2291                            JDevaney@perkinscoie.com
         Fair Oaks, California 95628
         Telephone: (646) 939-9169                Joel W. Nomkin*
14
         mkeaney@refugeerights.org                PERKINS COIE LLP
15                                                2525 East Camelback Road, Suite 500
         Laurie Ball Cooper*                      Phoenix, Arizona 85016
16       Megan Hauptman*                          Telephone: (602) 351-8000
         INTERNATIONAL REFUGEE                    Facsimile: (602) 648-7000
17       ASSISTANCE PROJECT                       JNomkin@perkinscoie.com
         650 Massachusetts Ave. NW
18       Washington, D.C. 20001                   Nicholas J. Surprise*
         Telephone: (646) 939-9169                PERKINS COIE LLP
19                                                33 East Main Street, Suite 201
         lballcooper@refugeerights.org
         mhauptman@refugeerights.org              Madison, Wisconsin 53703
20
                                                  Telephone: (608) 663-7460
21                                                Facsimile: (608) 663-7499
                                                  NSurprise@perkinscoie.com
22
                                                  Counsel for Plaintiffs
23                                                * Admitted pro hac vice
24

25

26
     NOTICE OF SUPPL. AUTHORITY – 3                                     Perkins Coie LLP
                                                                  1301 Second Avenue, Suite 4200
     (No. 2:25-cv-255-JNW)                                           Seattle, Washington 98101
                                                                      Phone: +1.206.359.8000
                                                                       Fax: +1.206.359.9000
